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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                v.                             )     CR. NO. 3:15-CR-240-MHT-CSC
                                               )
STEPHEN HOWARD                                 )

                SUPPLEMENT TO RESPONSE TO SHOW CAUSE ORDER

       Comes now the United States of America, by and through Louis V. Franklin, Sr., United

States Attorney for the Middle District of Alabama, and Mark E. Andreu, Assistant United States

Attorney, and provides this supplement to correct a position taken by the government in its

response (Doc. 109) to the show cause order (Doc. 105).

       In light of supplemental guidance from the Department of Justice, the government

concedes that a prisoner satisfies the exhaustion requirements of 18 U.S.C. § 3582(c)(1)(A) if he

files his motion after 30 days have lapsed since receipt of his request by the warden. The

prisoner need not pursue further administrative remedies—even if the warden has acted upon the

request by denying it—so long as 30 days have lapsed since the initial request was received by

the warden. Accordingly, the government hereby abandons the argument it made at footnote 6 of

its response.

       Nonetheless, Howard did not comply with 18 U.S.C. § 3582(c)(1)(A), because he moved

the court for relief prior to the lapse of 30 days from receipt of his request by the warden. On

April 3, 2020, the Warden received a request from Howard for compassionate release. On April

29, 2020, Howard filed his motion with the court. This Court should therefore deny the motion

without prejudice for Howard’s failure to comply with 18 U.S.C. § 3582(c)(1)(A). He may

properly file his motion now that 30 days have lapsed since his request was received by the

warden. Should the Court reach the merits, it should deny the motion with prejudice for the

reasons stated in the government’s response.
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 Respectfully submitted this the 1st day of June, 2020.

                                              LOUIS V. FRANKLIN, SR.
                                              UNITED STATES ATTORNEY

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                         FOR THE MIDDLE DISTRICT OF ALABAMA
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UNITED STATES OF AMERICA                    )
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              v.                            )       CR. NO. 3:15-CR-240-MHT-CSC
                                            )
STEPHEN HOWARD                              )

                                CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2020, I have served a copy of the foregoing on Stephen

Howard by depositing a copy of same in the United States Mail, first class, postage prepaid and

properly addressed to:

Stephen Howard
Reg. No. 15668-002
COLEMAN LOW
FEDERAL CORRECTIONAL INSTITUTION
Inmate Mail/Parcels
P.O. BOX 1031
COLEMAN, FL 33521

                                                    Respectfully submitted,


                                                    /s/Mark E. Andreu
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